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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

No. 18-90015

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CONSUMER FINANCIAL PROTECTION BUREAU, (ora) sccucd Apr 24, 2018
Plaintiff - Respondent J W.C

Clerk, U.S. Court of Appeals, Fifth Circuit
Vv.

ALL AMERICAN CHECK CASHING, INCORPORATED; MID-STATE
FINANCE, INCORPORATED; MICHAEL E GRAY, Individually,

Defendants - Petitioners

 

Motion for Leave to Appeal
from an Interlocutory Order

 

Before DENNIS, SOUTHWICK, and HIGGINSON, Circuit Judges.

PER CURIAM:

The motion for leave to appeal from the interlocutory order of the United
States District Court of the Southern District of Mississippi, entered on March
21, 2018, is GRANTED.
